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CASE SCHEDULED FOR ORAL ARGUMENT SEPTEMBER 16, 2024

         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                          )
TIKTOK INC., et al.,                      )
                                          )
                          Petitioners,    )
                                          )
     v.                                   ) No. 24-1113
                                          ) (consolidated with
MERRICK B. GARLAND, in his official       ) Nos. 24-1130,
capacity as Attorney General of the       ) 24-1183)
United States,                            )
                          Respondent.     )
                                          )

   TIKTOK PETITIONERS’ REPLY IN SUPPORT OF CROSS-
  MOTION IN THE ALTERNATIVE FOR APPOINTMENT OF A
                  SPECIAL MASTER

     The government urges this Court to rely on secret evidence to

uphold the most sweeping speech restriction in the nation’s history. It

asserts that neither due process nor the First Amendment require any

efforts to mitigate the prejudice from barring adversarial testing of

nearly one-third of the government’s evidence.

     Never mind that the First Amendment places the burden on the

government    to     justify   its   unprecedented   speech        restriction—

distinguishing this case from others where classified submissions have

been permitted.       Never mind that clear, material errors in the
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government’s public filings (which it casually minimizes as “imprecision”)

raise serious questions about the accuracy of its classified evidence. Gov’t

Reply/Opp’n 2. The government cavalierly urges the Court to simply look

past these fundamental problems.

     Meanwhile, the government is compounding the prejudice: on

August 9, it filed a heavily redacted 174-page congressional hearing

transcript, with the possibility of a corresponding ex parte classified

submission “in advance of the September 16, 2024 oral argument.”

Amended Notice Regarding Transcript 3. Like the government’s earlier

redacted filings, the prospect of yet more secret evidence underscores the

basic unfairness of requiring Petitioners to refute evidence they are not

permitted to see.

     The Court need not consider the government’s ex parte submissions

to enjoin the Act. TikTok Opp’n/Cross-Motion 2-3, 5-8. Nor does the

Constitution permit the use of secret evidence to justify the extraordinary

speech ban at issue here. Id. at 9-32. But if the Court nonetheless

concludes that it should consider the government’s ex parte filings, it

must implement a fair process to mitigate the prejudice to Petitioners




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and the 170 million Americans whose First Amendment rights are at

stake.

     The government’s cursory response quibbles with the efficiency of

appointing a special master, but offers no substantive reason why

mitigation procedures are unworkable, nor any explanation why a

temporary injunction to permit such mitigation would harm the

government’s interests. Mitigation cannot completely cure the prejudice

caused by the government’s extensive ex parte submissions, but it is the

bare minimum the Constitution requires.

     The special master process Petitioners propose offers a sensible

path for recommending what those procedures should be. Even on the

government’s view that the merits panel should decide these matters for

itself in the first instance, however, admitting the ex parte submissions

in toto and then doing nothing is plainly untenable.

     1. The government’s principal argument is that Petitioners’ cross-

motion is untimely and incompatible with the expedited nature of these

proceedings. Gov’t Reply/Opp’n 3, 19. The government appears to believe

that Petitioners should have made their request on May 17, 2024 as part

of the parties’ joint motion to govern proceedings. But the government’s


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position then was merely that it was “evaluating the need to file an ex

parte evidentiary submission,” to which Petitioners responded “that they

reserve[d] their right to object to, or otherwise seek relief with respect to,

any such classified, ex parte submission if it is made.” Joint Mot. to

Govern 4-5. The government took no issue with Petitioners’ position at

the time; indeed, if Petitioners had sought relief at that point from a

hypothetical future ex parte submission, the government surely would

have argued that the issue was not ripe.

     Equally unavailing is the government’s claim that a special master

would “introduce unnecessary complexity and delay” that is not

“compatible      with     the   expedited     nature      of        this   case.”

Gov’t Reply/Opp’n 19. To the extent the case presents “complexity and

delay,” it is entirely attributable to the government’s decision to rely on

extensive post hoc submissions—with key topics redacted almost in their

entirety.   See, e.g., Gov’t App.4-6 (Blackburn) (redacting five of six

paragraphs summarizing purported “National Security Risks Associated

with TikTok”).

     Petitioners have demonstrated that the Act is unconstitutional for

reasons that do not require consideration of the government’s ex parte


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submissions, and that the Court can and should issue final judgment in

Petitioners’ favor on the current expedited schedule without any need to

appoint a special master. TikTok Opp’n/Cross-Motion 2-3, 5-8. A special

master is warranted only if the Court concludes that it should consider

the Government’s ex parte submissions. In that case, as Petitioners have

explained, a temporary injunction of the Act would be necessary to

preserve the status quo during the special master process or any

alternative relief ordered by this Court. TikTok Opp’n/Cross-Motion 38-

40; see also TikTok Br. 71-72.

     The government complains generally about delay, but it identifies

no particularized harm to its interests from temporarily enjoining the Act

to ensure a fair process. Nor could it: the government claims its decision

to ban TikTok was the result of concerns it has “articulated for years,”

Gov’t Reply/Opp’n 4; the government has no evidence that China has

sought U.S. TikTok users’ sensitive personal information or influenced

the distribution of content to U.S. users, TikTok Reply Br. 21, 26 (citing

Gov’t App.4, 16, 26 (Blackburn)); TikTok Inc. has implemented

substantial protections against any such efforts, id. at 21-23, 25-26; and

the Act’s 270-day timeline allows the platform to continue to operate for


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the entire Presidential election process.       Indeed, the two leading

presidential candidates are currently using the platform to interact with

millions of voters. Creator Reply Br. 24 & n.2. The government cannot

claim any urgency in banning TikTok.

     2. Next, the government boldly asserts that it “cannot properly be

forced to reveal … highly classified information to outside parties.” Gov’t

Reply/Opp’n 6. But this Court surely may condition any grant of the ex

parte motion on the government’s compliance with ameliorating

procedures—as this Court and other courts have done repeatedly when

mitigating the prejudice from classified ex parte evidence. See TikTok

Opp’n/Cross-Motion 36 & nn.15-16 (discussing cases). And there is no

dispute that the Court has the authority to appoint a special master to

recommend such procedures in the first instance. Fed. R. App. P. 48(a);

TikTok Opp’n/Cross-Motion 34-35. The government then faces a choice:

comply with the procedures or withdraw the secret evidence.

     3.   The government claims that the relevance of its classified

evidence is not ripe for consideration on its motion (or Petitioners’ cross-

motion) and should instead be considered as part of the merits. Gov’t

Reply/Opp’n 8. Contra Fed. R. Evid. 402 (“Irrelevant evidence is not


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admissible.”). Either way, the government’s position ignores a threshold

task for which a special master would be well-suited: identifying what

information was before Congress when it passed the Act.

     The government bears the burdens of identifying Congress’s “actual

purpose” for banning TikTok, Shaw v. Hunt, 517 U.S. 899, 908 n.4 (1996)

(citation omitted), and showing that Congress “seriously undertook to

address the problem with less intrusive tools readily available to it,”

McCullen v. Coakley, 573 U.S. 464, 494 (2014).         Yet it still avoids

revealing what information in its classified submissions was actually

provided to Congress, and whether that information was provided in a

manner that reached, or was even available to, all Members. See Gov’t

Reply/Opp’n 9 (relying on declarations, but never stating that the same

information was provided to Congress at all, let alone that it was

available to all Members).

     Petitioners have demonstrated that congressional findings are the

only way to know the reasons why majorities of the House and Senate

singled out TikTok. TikTok Br. 48-50; TikTok Reply Br. 16-18. But if

the government’s post hoc arguments are considered, there are serious

questions regarding the extent to which the information submitted to this


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Court actually was before the Members of Congress who voted to

expressly target Petitioners; whether Congress had other, plainly

impermissible purposes for that action, see TikTok Reply Br. 19; and

whether Congress seriously considered less restrictive alternatives,

TikTok Br. 46-47, 57-61; TikTok Reply Br. 29-30; Transcript 40-41

(redacting bulk of testimony addressing why Project Texas purportedly

is not “sufficient”). A special master could recommend to the Court an

appropriate process to assess these questions.

     4. The government misses the point when it faults Petitioners for

failing to explain “why this Court is incapable of assessing” the

government’s classified submissions. Gov’t Reply/Opp’n 19. The entire

premise of our adversarial system of justice is that the court is not an

expert on the parties’ dispute, and benefits from the parties’ scrutinizing

their opponents’ evidence and arguments.         See TikTok Opp’n/Cross-

Motion 10. Given the fundamental importance of adversary proceedings,

the role of a special master would be to recommend what “procedural

protections … the particular situation demands,” Nat’l Council of

Resistance of Iran v. Dep’t of State, 251 F.3d 192, 205 (D.C. Cir. 2001)




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(quotation omitted), to mitigate prejudice to Petitioners from their

inability to assess the government’s ex parte evidence.

     Without a special master process, for example, Petitioners would

continue to be hamstrung in identifying and correcting factual errors in

the government’s redacted submissions—which seem likely to be present

given the significant errors in its unredacted filings. The government

now concedes “imprecision” in wrongly asserting that TikTok Inc. is

owned by a Chinese company, and tries to shift attention by falsely

blaming Petitioners’ declarant for doing the same. Gov’t Reply/Opp’n 2,

12.1 It abandons its refrain that TikTok collects “precise” location data


1 The referenced declaration from Professor Steven Weber does not in any

way repeat the government’s error. Rather, Professor Weber states
(correctly): “TikTok has pointed out that ByteDance Ltd. is a Cayman
Islands holding company, and that its operating entities in China are
subsidiaries of ByteDance Ltd. References in this declaration to
‘ByteDance’ are to the corporate group, rather than any particular
entity.” App.769 n.24. The government misleadingly splices two
separate sentences from Professor Weber’s declaration to suggest that he
“similarly” (Gov’t Reply/Opp’n 12) referred to TikTok Inc. as being owned
by a Chinese company. Here is what Professor Weber actually said:
“Finally, the fact that ByteDance reportedly employs certain CCP
members is likewise not a distinguishing feature of TikTok. As U.S.
government officials have acknowledged, virtually all major Chinese
companies are required to maintain internal committees comprised of
CCP members, and in recent years, a number of U.S. companies doing
business in China have instituted such committees of their own.”
App.772. Professor Weber was making a general point about companies
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and now says it meant only IP address data, Gov’t Reply/Opp’n 11, which

is undisputedly imprecise, Supp.App.873-74 (Weber). And it rewrites as

“shorthand” its erroneous premise that TikTok’s recommendation engine

for U.S. users is located in China without defending its conclusion that

this supposedly required U.S. user data to flow to China—or addressing

other errors that rest on the same false assumption. Gov’t Reply/Opp’n

13-14; see also TikTok Reply Br. 30-32 (describing numerous errors in the

government’s post hoc objections to the draft National Security

Agreement).

      The Court would benefit from a process that would ferret out

similar “imprecision” and “shorthand” in the government’s redacted

submissions—including any inaccuracies in the classified hearing before

Members of Congress. See United States v. McGill, 815 F.3d 846, 881 n.3

(D.C. Cir. 2016) (“Appellate judges are not bloodhounds who need only be

put on the scent to go hunting for errors on their own.”). A special master

would be well-positioned to recommend and administer such a process.




doing business in China (which includes ByteDance affiliates); he was
not making any statement about the structure of TikTok Inc.’s
ownership, let alone suggesting that TikTok Inc. was ultimately owned
by a Chinese company.
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      Petitioners’ inability to correct the government’s factual errors,

moreover, is only one of the many forms of prejudice a special master

could assess.    Petitioners are also precluded from supporting their

arguments with redacted evidence that undermines the government’s

arguments. See Al-Hela v. Biden, 66 F.4th 217, 240 (D.C. Cir. 2023)

(en banc) (district court ensured that “[Petitioner’s] counsel had a

sufficient opportunity to rebut the government’s asserted factual basis

for Petitioner’s detention (and to exploit exculpatory information)”

(emphasis added)).    The hearing transcript, for example, includes a

question about “e-commerce sites which are actually Chinese owned or

Chinese”—the omission of which from the Act is an important element of

its underinclusiveness—with the answer totally redacted. Transcript

162; see also TikTok Br. 56-57; TikTok Reply Br. 26-27.

      5.   Despite the clear prejudice to Petitioners, the government’s

position is that it should not be required to do anything to mitigate the

harm from its classified filings. The government declares, for example,

that it should not be required to disclose its ex parte submissions to

cleared counsel for Petitioners, but it provides no explanation why such

a disclosure would be unworkable for even a subset of its ex parte


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submissions.    Gov’t Reply/Opp’n 7.2     The government is similarly

dismissive of procedures drawn from the Classified Information

Procedures Act, even though this Court has recognized they can serve as

an example outside of the criminal context where they directly apply.

See Parhat v. Gates, 532 F.3d 834, 849 (D.C. Cir. 2008).           And the

government does not even bother to address the option of appointing an

amicus. See TikTok Opp’n/Cross-Motion 36.

      The government faults Petitioners for not being specific about the

mitigation measures they are requesting, Gov’t Reply/Opp’n 19, but, as

previously explained, without any sense of what is contained in the

government’s secret filings, Petitioners cannot meaningfully assess what

procedures, if any, would most effectively mitigate the prejudice from the

government’s ex parte submissions, TikTok Opp’n/Cross-Motion 37. Yet

even so, Petitioners identified a range of options courts have considered,




2 The government states that this case involves information classified at

the “Secret” and “Top Secret” levels. Gov’t Reply/Opp’n 6. One question
for a special master is whether the government’s categorical refusal to
share its ex parte filing with cleared counsel for Petitioners (holding a
current Top Secret clearance), can be justified for all classified
information currently being withheld, including all information classified
at the Secret level.
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TikTok Opp’n/Cross-Motion 35-37, all of which the government rejects

out of hand.

      The most the government is willing to concede is that due process

requires a “short unclassified summary” of the government’s classified

submission. Gov’t Reply/Opp’n 18 (quoting Bello v. Gacki, 94 F.4th 1067,

1075-76 (D.C. Cir. 2024)). But the government gives short shrift to even

this minimal form of mitigation, declaring that it has been satisfied by

the public filing of the government’s “core rationales, much of [its]

supporting evidence, and [its] comprehensive legal argument.” Id. Even

if this statement constituted a representation that the government has

provided the functional equivalent of an unclassified summary—and it

falls short of that standard—this is precisely the type of assertion that a

special master would be        well-positioned to test: whether the

government’s public filings truly do contain the “who, what, when and

where of [its classified] allegations.” Bello, 94 F.4th at 1076 (quotations

and citation omitted); see also Al-Hela, 66 F.4th at 240. As it is, the

government’s position amounts to nothing more than “trust us.”




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                              *     *     *

      The government’s ex parte submissions should be rejected as

offensive to both due process and the First Amendment. If the Court is

inclined to consider those submissions, however, it should appoint a

special master to assess what additional procedures, if any, could address

the profound unfairness of deciding this case based on secret evidence.

      Given the fact-intensive nature of the mitigation analysis,

appointing a special master would be the most efficient way to assess

these additional procedures. But whether that analysis is conducted by

a special master or by the panel, it simply cannot be the case that due

process and the First Amendment require the government to do nothing

to mitigate the harm that would result from permitting its secret filings.




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DATED: August 22, 2024                   Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

      This reply complies with the type-volume limitation of D.C. Circuit

Rule 27(c) because it contains 2,592 words, excluding the parts of the

brief exempted by Federal Rule of Appellate Procedure 32(f).

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of Appellate Procedure 32(a)(5) and the type style requirements of

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point, Century Schoolbook font.



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                     CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the District

of Columbia Circuit by using the appellate CM/ECF system on August

22, 2024.

      I certify that all participants in the case are registered CM/ECF

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